AQ 245B (Rev, 01/10) Judgment in a Criminal Case

United States District Court

NORTHERN DISTRICT OF IOWA
UNTTED STATES OF AMERICA JUDGMENT IN A CRIMINAL CASE
V.
JOSE BAYONA Case Number: CR 11-4013-1-DEO
USM Number: 11433-029

Robert Tiefenthaler

Defendant's Attorney

THE DEFENDANT:

@ pleaded guilty to count(s) 1 of the Superseding Indictment filed on February 16, 2011

[) pleaded nolo contendere to count(s)
which was accepted by the court.

| was found guilty on count(s)
alter a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section Nature of Offense Offense Ended Count
21 U.S.C. 8§ 841 (a(1), Distribution of 5 Grams or More of 07/29/2016 I

841(b)(1)(B), 851, & 860(a) Methamphetamine Actual Within 1,000 Feet of a
Protected Location After Having Been Convicted
ofa Felony Drug Offense

The defendant is sentenced as provided in pages 2 through. @ _of this jadgement. The sentence is imposed pursuant
to the Sentencing Reform Act of 1984.

[4 The defendant has been found not guilty on count(s)

@ Count 6 of the Superseding Indictment is dismissed on the motion of the United States.

MP ES ORDERED that the defendant must notify the United States attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. Hf ordered to pay
restitution, the defendant must notify the court and United States attorney of material change in economic circumstances.

October 24, 2011

Date of Imposition of Judgment

4

e

Signature of Judicial Officer

Donald E. O’Brien
Senior U.S. District Court Judge
Name and Title of Judicial Officer

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AQ 245183 (Rev. 01/10) Judgement in Criminal Case
Sheet 2 —- Imprisonment

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DEFENDANT: JOSE BAYONA
CASE NUMBER: CR 11-4013-1-DEO

IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total term of:
120 months on Count | of the Superseding Indictment, to be served concurrently with his undischarged term of
imprisonment in Woodbury County, lowa Case No. OWCK077090 pursuant to USSG § SGI Af).

e The court makes the following recommendations to the Bureau of Prisons:
The defendant be designated to a Bureau of Prisons facility in close proximity to his family in Sioux City, lowa,
which is commensurate with his security and custody classification needs. lt is further recommended that the
defendant be transferred to FPC Yankton, South Dakota, when be becomes eligible for a camp facility.

The defendant participate in the Bureau of Prisons’ 500-Hour Comprehensive Residential Drug Abuse Treatment
Program or an alternate substance abuse treatment program.

i The defendant is remanded to the custody of the United States Marshal.

[") The defendant shall surrender to the United States Marshal for this district:

C) at C] am, i) pam. on
LJ as notified by the United States Marshal.
Cl The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

[1 before 2 p.m. on

(J as notified by the United States Marshal,

(i as notified by the Probation or Pretrial Services Office.

RETURN

| have executed this judgment as follows:

Defendant delivered on to

at . with a certified copy of this judgment.

UNTTED STATES MARSHAL

By

DEPUTY UNITED STATES MARSHAL.

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(Rev 1G) Judgment in a Criminal Case
Sheet 3 — Supervised Release

Judament--Page A ot §

DEFENDANT: JOSE BAYONA
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SUPERVISED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for a term of: 8 years on Count 1 of the Superseding
Indictment.

The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons.

The defendant shall not commit another federal, state or local crime.

The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful useofa controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter, as determined by the court.

“| The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
future substance abuse. (Check, if applicable.)

The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)

The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)

Bas

The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
student, as directed by the probation officer. (Check, if applicable

rhe defendant shall participate in an approved program for domestic violence. (Check, if applicable.)

ft “icjudemet imposes a fine or restitution, it is a condition of supervised re dance with the

ease that the defendant pay in ac
Schedule of Payments sheet of this judgment.

The defendant must comply with thestandard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

STANDARD CONDITIONS OF SUPERVISION
{) the defendant shall not leave the judicial district without the permission of the court or probation officer;

2) the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days
of each month;

3) the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;

4) the defendant shall support his or her dependents and meet other family responsibilities:

5} the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
acceptable reasons;

6) the defendant shall notify the probation officer at least ten days prior to any change in residence or employment,

7) the defendant shall refrain from excessive use of alcohol and shall not purchase, possess. use, distribute, or administer any
controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;

8) the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;

9) the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted
of a felony, unless granted permission to do so by the probation officer; :

10) the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation
of any contraband observed in plain view of the probation officer;

11) the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement
officer;

12) the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
permission of the court; and

13) as directed by the probation officer, the defendant shall not i third parties of risks that may be occasioned by the defendant's

criminal recard ab c spa tics an ergriit tl abation officer to make_such notifications and to
confirm the& asada partes SRE nee Su wane nt. Filed 7 OBS Page 3 of 6
AO 245B (Rev. 01/10) Judgment in a Criminal Case
Sheet 3C -- Supervised Release

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DEFENDANT: JOSE BAYONA
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SPECIAL CONDITIONS OF SUPERVISION

The defendant must comply with the following special conditions as ordered by the Court and implemented by the U.S. Probation Office:

i. The defendant must participate in and successfully complete a program of testing and (reatment for substance abuse.

2. The defendant is prohibited from the use of alcohol and is prohibited from entering bars, taverns, or other
establishments whose primary source of income is derived from the sale of alcohol.

3. The defendant will submit to a search of his person, residence, adjacent structures, office or vehicle, conducted by
a United States Probation Officer at a reasonable time and in a reasonable manner, based upon reasonable suspicion
of contraband or evidence of a violation of a condition of release; failure to submit to a search may be grounds for
revocation; he shall warn any other residents that the residence or vehicle may be subject to searches pursuant to
this condition. This condition may be invoked with or without the assistance of law enforcement, including the U.S.
Marshals Service.

Upon a finding of a violation of supervision, L understand the Court may: (1) revoke supervision; (2) extend the term of
supervision; and/or (3) modify the condition of supervision.

These conditions have been read to me. [ fully understand the conditions and have been provided a copy of them.

Defendant Date

U.S. Probation Officer/Designated Witness Date

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AO 2458 (Rew. 01/10) Judgement in a Criminal Case

Sheet $ — Criminal Monetary Penalties
Judgment --- Page 3 of 6 :
DEFENDANT: JOSE BAYORA
CASE NUMBER: CR 11-4013-1-DEO

CRIMINAL MONETARY PENALTIES

The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

Assessment Fine Restitution
TOTALS $ 100 $ 6 5 0

CL) The determination of restitution is deferred until _ An Amended Judement in a Criminal Case (AQ 245C) will be entered
after such determination.

The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

Ir the defendant makes a partial payment, each payee shall receive an approximately  Peeportigned payment, unless specified otherwise in
the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(4), all nonfederal victims must be paid

before the United States is paid.

Name of Payee Total Loss* Restitution Ordered Priority or Percentage

Ef
Se

TOTALS

[] Restitution amount ordered pursuant to plea agreement $

(| ‘The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
fifteenth day atter the date of the judgment, pursuant to 18 U.S.C. § 3612(f). Allof the payment options on Sheet 6 may be subject
to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612¢2).

{) ‘The court determined that the defendant does not have the ability to pay interest, and it is ordered that:

["] the interest requirement is waived forthe [C} fine (1 _ restitution,

Cl the interest requirement forthe [1] fine CJ restitution is modified as follows:

a

Findings for the total amountof losses are required under Ch apters 109A, 110, LIGA, and LISA of Title 18, United States Code, for offenses
committed on or after September 13, 1994, but before April 23, 1996.

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Sheet 6 —- Criminal Monetary Penalties

Judgment —- Page 6 af

DEFENDANT: JOSE BAYONA
CASE NUMBER: CR 11-4013-1-DEO

SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties are due as follows:

A &! Lumpsumpaymentof$S 100 due immediately, balance due

CL] not later than ,or
(J inaceordance with [2 C, () D, (0 E, or () F below: or

B [2 Payment to begin immediately (may be combined with [CI C, C1] Dor (1) F below): or

C () Payment in equal . (e.g., weekly, monthly, quarterly) installments of $ over a period of
(e.2., months or years}, to commence __ (@.g., 30 or 60 days) after the date of this judgment: or

nape Be

D C€) Payment in equal (e.2., weekly, monthly, quarterly) installments of $ over a period of
ee (e.g., months or years), focommence (e.2., 30 or 60 days) after release from imprisonment to a
term of supervision; or

E  (] Payment during the term of supervised release willcammence within (e.g., 30 or 60 days) after release from
wnprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

Fr () Special instructions regarding the payment of criminal monetary penalties:

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
A

imprisonment.
Responsibility F

rogram, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

Cl Joint and Several

il criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’ Inmate Financial

Defendant and Co-Defendant Names and Case Numbers (including defendant number}, Total Amount, Joint and Several Amount,

and corresponding payee, if appropriate.

(} The defendant shall pay the cost of prosecution.
[] The defendant shall pay the following court cost(s):

[] The defendant shall forfeit the defendant’s interest in the following property to the United States:

(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cast of prosecution and court costs.

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Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
